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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                         22-CR-076 (KMM/TNL)

UNITED STATES OF AMERICA,           )
                                    )
                   Plaintiff,       )
                                    )
            v.                      )
                                    )
                                                  GOVERNMENT’S
(1) SHEVIRIO KAVIRION CHILDS-YOUNG, )
                                                  NOTICE OF INTENT TO
       a/k/a “Rio,”                 )
                                                  CALL WITNESSES AT
                                    )
                                                  PRETRIAL MOTIONS
(3) ERIC HARRELL KNIGHT, and        )
                                                  HEARING
                                    )
(4) JAVEYON DEMARIO TATE,           )
                                    )
                   Defendants.      )

      The United States of America, by and through its attorneys, Andrew M.

Luger, United States Attorney for the District of Minnesota, and Thomas

Calhoun-Lopez, Assistant United States Attorney, in accordance with D. Minn.

Local Rule 12.1(c)(3)(A), hereby submits its notice of intent to call witnesses at

the motions hearing in the above-captioned matter, currently set for November

8, 2022.

Number of Witnesses the United 1
States Intends to Call
Motions to Be Addressed         Defendant’s Motion to Suppress
                                Eyewitness   Identification (ECF
                                Document No. 89)
Estimated Duration of Testimony 1 hour
      CASE 0:22-cr-00076-KMM-TNL Doc. 101 Filed 10/19/22 Page 2 of 2




Dated: October 19, 2022

                                        Respectfully Submitted,

                                        ANDREW M. LUGER
                                        United States Attorney



                                        s/ Thomas Calhoun-Lopez
                                        BY: THOMAS CALHOUN-LOPEZ
                                        Assistant U.S. Attorney
                                        Attorney ID No. 480908DC




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